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                                                                                    United States Bankruptcy Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                    IN THE UNITED STATES BANKRUPTCY COURT                              November 07, 2022
                      FOR THE SOUTHERN DISTRICT OF TEXAS                                Nathan Ochsner, Clerk
                               HOUSTON DIVISION

                                                        )
  In re:                                                )   Chapter 11
                                                        )
  FREE SPEECH SYSTEMS LLC,                              )   Case No. 22-60043
                                                        )
                         Debtor.                        )
                                                        )

          ORDER AUTHORIZING THE RETENTION OF JACKSON WALKER LLP
                 AS COUNSEL FOR THE SUBCHAPTER V TRUSTEE

          CAME ON FOR CONSIDERATION the Application to Retain Jackson Walker LLP as

Counsel the Subchapter V Trustee (the “Application”). Having reviewed the Application and the

supporting documents thereto, and finding that it has jurisdiction over this matter pursuant to

28 U.S.C. § 1334; that the Application was properly filed and served; that this is a core proceeding

pursuant to 28 U.SC. § 157(b); and that venue is proper in this district pursuant to 28 U.S.C.

§§ 1408 and 1409; and based upon good and sufficient cause appearing therefor; the Court

ORDERS THAT:

          1.    The Trustee is authorized to retain and employ Jackson Walker LLP (“Jackson

Walker”) as counsel upon the terms and conditions set forth in the Application and as modified

herein.

          2.    Jackson Walker shall apply for compensation for professional services rendered

and reimbursement of expenses incurred in connection with the Debtor’s case in compliance with

sections 330 and 331 of the Bankruptcy Code and applicable provisions of the Bankruptcy Rules,

Bankruptcy Local Rules, and any other applicable procedures and orders of the Court. For billing

purposes, Jackson Walker shall keep its time in one tenth (1/10) hour increments. Jackson Walker




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will use its best effort to avoid any duplication of services provided by any of the other

professionals in this case.

        3.      Jackson Walker will review its files periodically during the pendency of this chapter

11 case to ensure that no conflicts or other disqualifying circumstances exist or arise. If any new

relevant facts or relationships are discovered or arise, Jackson Walker will use reasonable efforts

to identify such further developments and will promptly file a supplemental declaration, as

required by Fed. R. Bankr. P. 2014(a).

        4.      To the extent that the Application or the Freeman Declaration is inconsistent with

this Order, the terms of this Order shall govern.

        5.      Notwithstanding anything to the contrary in the Application, Jackson Walker shall

not be entitled to reimbursement for fees and expenses incurred in connection with any objection

to its fees absent further order of this Court.

        6.      The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

        7.      The Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation of this Order.


 Dated: ___________, 2022
          August 02,
          November 07,2019
                       2022                             CHRISTOPHER LOPEZ
                                                        UNITED STATES BANKRUPTCY JUDGE




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